

People v Johnson (2023 NY Slip Op 00827)





People v Johnson


2023 NY Slip Op 00827


Decided on February 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 14, 2023

Before: Kern, J.P., Oing, Gesmer, Scarpulla, Rodriguez, JJ. 


Ind No. 856/16 Appeal No. 17147 Case No. 2019-1843 

[*1]The People of the State of New York, Respondent,
vTerrence Johnson Also Known as Terrance Johnson, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Nicolas Schumann-Ortega of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Stephanie L. Nelson of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Harold Adler, J. at suppression hearing; Robert E. Torres, J. at plea; Robert A. Neary, J. at sentencing), rendered November 9, 2018, convicting defendant of attempted criminal possession of a weapon in the second degree, and sentencing him, as a second felony offender, to a term of five years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US ——, 140 S Ct 2634 [2020]). The court's oral colloquy avoided conflating the right to appeal with the rights normally forfeited upon a guilty plea (see People v Lopez, 6 NY3d 248, 256 [2006]). The combination of the court's colloquy and the detailed written waiver that defendant signed after consultation with counsel satisfied the requirements of a valid waiver. This waiver forecloses review of defendant's suppression claim. 	 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 14, 2023








